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J. MITCHELL COBEAGA, ESQ.
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Attorneys for Defendant

-UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

SUSIE LEAHY, individually and SUSIE __)
LEAHY AS GUARDIAN AD LITEM FOR )
REBECCA SUSAN LEAHY, a minor, )
HANNAH JOY LEAHY, a minor, and )
WILLIAM JOHN LEAHY, III, a minor, ) CASE NO: 2:10-CV-00082 -GMN-PAL
) =
Plaintiffs, )
) DEFENDANT LONE MOUNTAIN
vs. ) AVIATION, INC.’S MOTION IN
) LIMINE TO INTRODUCE EVIDENCE OF
) PLAINTIFF LEAHY’S REMARRIAGE.
LONE MOUNTAIN AVIATION, INC., a)
corporation; and DOES 1 through 20, )
inclusive, )
; )
)
)

Defendants

 

Defendant LONE MOUNTAIN AVIATION, INC., by and through its counsel of record,
J. MITCHELL COBEAGA, ESQ. of the law firm, THE COBEAGA LAW FIRM, hereby
submits its Motion in Limine to introduce evidence of Plaintiff SUSIE LEAHY-HERR’s
remarriage and name change.

This Motion is made and based on the attached Memorandum of Points and Authorities,
all pleadings and papers on file herein and any oral argument this Court may entertain.

DATED this 25™ day of January, 2013.

THE COBEAGA LAW FIRM

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J. MYfCHELL COBEAGA, ESQ.
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Las Vegas, NV 89104 ~ ,
Attorney for Defendant

 

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MEMORANDUM OF POINTS AND AUTHORITIES
Defendant LONE MOUNTAIN brings the instant Motion, pursuant to FRE 401-403,
seeking a determination from the court regarding the admissibility of Plaintiff LEAHY-
HERR’s remarriage and name change where she is seeking to prove damages arising out of loss
of support, companionship, etc. The substantive right to damages for this wrongful death
action arises statutorily under NRS 41.085(4), which states that decedent may be awarded

pecuniary damages for “grief or sorrow, loss of probable support, companionship, society,

comfort and consortium...”

I.
FACTUAL AND PROCEDURAL OVERVIEW

This case arises out of the crash of a small twin engine aircraft on August 28, 2008, near
the North Las Vegas Airport. The aircraft was piloted by William Leahy, the decedent in this case.
William Leahy had married co-plaintiff Mrs. Susan Leahy-Herr on June 17, 1995. At the time of
the accident, Mrs. Leahy-Herr worked for Veritas Christian Academy and continued working there
to support her three children following the crash. (Depo of Susan Leahy Herr, P.7, 22)

Mrs. Leahy-Herr met her current husband on Christianmingle.com in May of 2009.. Mrs.
Leahy-Herr married Brian Herr on May 22, 2010, and they have subsequently had a son together.
Around the time of her remarriage, Mrs. Leahy-Herr quit her job at Veritas Christian Academy to
become a full-time mother and housewife. The time between the crash and Mrs. Leahy-Herr’s
remarriage was less than two years. Mr. Herr is gainfully employed in a managerial position and
supports Mrs. Leahy-Herr.

Mrs. Leahy-Herr is seeking, inter alia, to be compensated “3. For loss of service and
support according to proof; 4. For loss of care, comfort and society according to proof.”

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Il.
STANDARD OF REVIEW

Motions in limine are designed to seek the Court’s ruling on the admissibility of arguments,
assertions and evidence in advance of trial. Motions in limine are the traditional vehicle for
determining the admissibility of evidence and for pre-determination of the relevance of testimony
or evidence. The admissibility of evidence at trail is generally governed by FRE 401,402 and 403.

FRE 402 General Admissibility of Relevant Evidence: Relevant evidence is admissible
unless any of the following provides otherwise: the United States Constitution; a federal statute;
these rules; or other rules prescribed by the Supreme Court. Irrelevant evidence is not admissible.

FRE 403 Excluding Relevant Evidence for Prejudice, Confusion, Waste of Time, or
Other Reasons: The court may exclude relevant evidence if its probative value: is substantially
outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,
misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.

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- LEGAL ARGUMENT

A wrongful death claim is purely a creature of statute since no such cause of action was
recognized under the common law of any state. See Hall v. Gillins, 13 Ill.2d 26, 147 N.E.2d 352
(Ill. 1958) (Where the court explained the history of wrongful death statutes and denied damages
not expressly authorized by the statute). Accordingly, a wrongful death claim tried in Nevada and
arising from an accident occurring in Nevada is limited by the domestic wrongful death statute.
That statute is NRS 41.085(4), which delineates authorized damages and reads in part:

4. The heirs may prove their respective damages in the action ... and the court or

jury may award each person pecuniary damages for the person’s grief or sorrow,

loss of probable support, companionship, society, comfort and consortium...

Mrs. Leahy-Herr’s remarriage is ultra-relevant here because it has an extremely
strong tendency to make those facts applicable to Mrs. Leahy-Herr’s damages “more or less

probable,” such as probable loss of support, companionship, etc. FRE 401.
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Federal statutes or other rules prescribed by the Supreme Court do not exclude this
evidence under FRE 402. Accordingly, unless the probative value of such evidence were
substantially outweighed by one of the factors listed in FRE 403, the evidence of Mrs.
Leahy-Herr’s remarriage is admissible.

The Nevada Supreme Court has not decided a case directly addressing the
admissibility of remarriage. States which have ruled on this issue have done so according
to the damages and requisite proof under their domestic wrongful death statute. The
Illinois statute, for instance, is more expansive and allows that “the jury may give such
damages as they deem a fair and just compensation with reference to the pecuniary injuries
resulting from such death, including damages for grief, sorrow, and mental suffering to the
surviving spouse...” 740 ILCS 180/2.

The Courts of Appeals in Illinois opine that when a surviving spouse claims
damages for loss of support, comfort and society, their remarriage signifies they are no
longer at a loss for those elements and the amount of damages should be reduced. Dotson
vy. Sears, Roebuck & Co., 557 N.E.2d 392, 394 (Ill. App. Ct. 1990). They further hold that
“evidence of remarriage [is] relevant to a claim for loss of consortium boomise recovery [is]
therefore limited to ‘actual loss,’ i.e., ‘loss up to the time of the remarriage.” Jd. (citing
Carter v. Chicago & Ill. Midland Ry., 474 N.E.2d 458, 463 (Il. App. Ct. 1985)).

In a wrongful death case in Mississippi, the court expressed similar reasoning.
Testimony is proper to show the condition of the affected person, so it follows that
“testimony may be introduced to show the remarriage of the widow, after the death of the
husband.” Campbell v. Schmidt, 195 So. 2d 87, 90 (Miss. 1967). The Fifth Circuit agreed
in upholding a charge to the jury that when assessing damages sustained by the surviving
wife, the jury may take into account her remarriage and its effect on damages she might
otherwise be able to recover. Nowell v. Universal Elec. Co., 792 F.2d 1310, 1313 (Sth
Cir. 1986). Wisconsin agreed, stating: “[t]he possibility ofremarriage is always an element
which it is proper for the jury to consider in determining damages in a wrongful death

action.” Jensen v. Heritage Mut. Ins. Co., 127 N.W.2d 228, 234 (Wis. 1964).

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Defendant concedes that Plaintiff Leahy-Herr suffered loss of comfort and support
when her husband died on August 28, 2008. However, actual damages were mitigated
when Plaintiff Leahy remarried ion May 22, 2010. Once Sarah Leahy-Herr married Mr.
Herr, she was no longer at a loss for support, comfort and society. Plaintiff may allege that
damages should be calculated from the date of the injury and therefore evidence of her
remarriage is irrelevant. A basic tenet of tort law says that one should only recover for
injuries one actually suffers or is reasonably likely to suffer. A remarried plaintiff is no
longer without the support, care, and comfort of a spouse. As such, those damages ceased
at the time of the remarriage. See, Carter, 474 N.E.2d at 463. As Mrs. Leahy-Herr is
seeking damages for loss of comfort and support, it is only proper to introduce evidence
of how these damages were affected by Plaintiff’s remarriage.

Even if evidence of remarriage were not allowed to miti gate damages, it would still
be allowed to correct misimpressions created by the plaintiff. See Elmahdi v. Ethridge, 987
S.W.2d 366, 369 (Mo.App.1999) (“a defendant may mention the fact of the plaintiff's
remarriage, although not the details about the new spouse’s income or merece, ifnecessary
in order to correct a misimpression created by the plaintiff.”). This is particularly true
when, as here, the surviving spouse has changed her name as a result of the remarriage and
quit her job to become a full-time homemaker. Withholding evidence of a remarriage from
the jury “would not be consistent with the high standards of integrity which the judicial
process should maintain.” Glick v. Allstate Ins. Co., 435 S.W.2d 17 (Mo. Ct. App. 1968);
see also, Harbenski v. Upper Peninsula Power Co., 325 N.W.2d 785 (Mich. Ct. App.
1982); Dubil v. Labate, 245 A.2d 177, 180 (N.J. 1968) (“i]t would be offensive to the
integrity of the judicial process if the plaintiff, after taking an oath to be truthful, were
permitted to misrepresent her marital status to the jury”); and Smyer v. Gaines, 332 So. 2d
655 (Fla. App. 1976) (evidence of remarriage allowed to show the whole truth). Even if
such evidence were not permitted during voir dire or opening statements, evidence of Mrs.
Leahy-Herr’s subsequent remarriage should be admitted to correct any affirmative

misrepresentations by plaintiff. If Mrs. Leahy-Herr were to misrepresent her name, amount

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of children, or that she is a single mother struggling to support her family, such evidence
should be admitted to prevent a fraud on thejury. Allowing Ms. Leahy to conceal evidence
and use her former name would equate to perjury. See, Watson v. Fischback, 301 N.E.2d
303 (Ill. 1973).
Til.
CONCLUSION

This Court should follow the rules established by the foregoing courts and allow
the introduction of evidence of Susan Leahy’s remarriage to Brian Herr. By purposely
keeping this fact from the jury the integrity of the court would be jeopardized. The jury
should be introduced to all relevant evidence of damages: If Plaintiff Susan Leahy-Herr is
to be awarded damages for loss of support, society and comfort, the jury should be able to
make a determination as to what those damages were and what future damages are likely

to be, not what they could have potentially been.
DATED this 25™ day of January, 2013.

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CERTIFICATE OF SERVICE

I hereby certify that on this 25" day of February, 2013, I caused to be served a
true and correct copy of the foregoing DEFENDANT LONE MOUNTAIN AVIATION,

THE COBEAGA LAW FIRM

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INC.’S MOTION IN LIMINE TO INTRODUCE EVIDENCE OF PLAINTIFF

LEAHY’S REMARRIAGE by electronic service (via Case Management/Electronic

Case Filing). Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system.

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DATED this 25™ day of February, 2013.

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